                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

REENA MACHHAL,

               Plaintiff,
                                                    Case No. 1:21-cv-00888-PLM-SJB
v.
                                                    Hon. Paul L. Maloney

IKBAL MACHHAL, KARTAR
CHAND, SHILE DEVI, and
IKDIL, INC. d/b/a BROADWAY MARKET,

               Defendants.


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     PLAINTIFF’S RESPONSE CONCURRING WITH THE RELIEF SOUGHT IN
        DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO ANSWER

       Plaintiff Reena Machhal, by and through her attorneys, Salvatore Prescott Porter & Porter,

PLLC, hereby concurs with Defendants’ Emergency Motion for an Extension of Time to Answer,

in which Defendants’ request an additional 30 days to respond to Plaintiff’s complaint.
                                            Respectfully submitted,

                                            SALVATORE PRESCOTT
                                            PORTER & PORTER, PLLC

                                            /s/ Nakisha N. Chaney
                                             Nakisha N. Chaney (P65066)
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 Dated: November 10, 2021                    chaney@sppplaw.com




                                   PROOF OF SERVICE

       I hereby certify that on November 10, 2021, I electronically filed the foregoing document

with the Clerk of the Court using the ECF system, which will send notification of such filing to

counsel of record. I have also sent a copy of the foregoing document to defendants via USPS at

the address provided in Defendants’ Motion: 800 Main St., Three Rivers, MI 49093.

                                    /s/ Kelly Murawski
                                    Kelly Murawski, Paralegal




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